              Case 18-12919                 Doc      Filed 11/09/20 Entered 11/09/20 14:06:00                                  Desc Main
 Fill in this information to identify the case:          document Page 1 of 7

 Debtor 1              Richard Amaral
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                                                             MA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number            18-12919
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               U.S. Bank Trust National Association, as
                   Trustee of the Lodge Series III Trust
 Name of creditor: _______________________________________                                                           7
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          1199____ ____ ____
                                                         ____                            Must be at least 21 days after date       12        2020
                                                                                                                                   ____/____/_____
                                                                                                                                        01
                                                                                         of this notice


                                                                                         New total payment:                          1,290.71
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             381.32
                   Current escrow payment: $ _______________                           New escrow payment:           376.59
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1
            Case 18-12919                      Doc          Filed 11/09/20 Entered 11/09/20 14:06:00                                Desc Main
                                                                document Page 2 of 7

Debtor 1         Richard Amaral
                 _______________________________________________________                                               18-12919
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q
     X     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û_____________________________________________________________
   /s/ Michelle Ghidotti
     Signature
                                                                                                Date    11/09/2020
                                                                                                        ____/_____/________




 Print:             Michelle Ghidotti
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti Berger LLP.
                    _________________________________________________________



 Address            1920 Old Tustin Ave.
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                            bknotifications@ghidottiberger.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
                                                                                                                 PAGE 1 OF 3
             Case 18-12919            Doc     Filed 11/09/20 Entered 11/09/20 14:06:00 Desc Main
                                                  document Page 3 of 7           Annual Escrow Account
                                                                                  Disclosure Statement
  314 S. Franklin Street, 2nd Floor
  P.O. Box 517
  Titusville, PA 16354                                                       ACCOUNT NUMBER:
  1-800-327-7861
  https://myloanweb.com/BSI                                             1461901199_ESCROWDISCSTMT_201027

                                                                              DATE: 10/27/20


           RICHARD J AMARAL                                                  PROPERTY ADDRESS
           PO BOX 1328                                                       663 WAREHAM ST. UNIT 7
           MIDDLEBORO, MA 02346                                              MIDDLEBORO, MA 02346



PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED. THIS STATEMENT TELLS
YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR ANY SHORTAGE YOU MUST PAY.
IT ALSO SHOWS YOU THE ANTICIPATED ESCROW ACTIVITY FOR YOUR ESCROW CYCLE BEGINNING 12/01/2020
THROUGH 11/30/2021.
          -------- ANTICIPATED PAYMENTS FROM ESCROW 12/01/2020 TO 11/30/2021 ---------
UNIT HAZARD                                                       $487.00
USDA                                                              $925.22
TOWN                                                           $3,106.88
TOTAL PAYMENTS FROM ESCROW                                     $4,519.10
MONTHLY PAYMENT TO ESCROW                                         $376.59
          ------ ANTICIPATED ESCROW ACTIVITY 12/01/2020 TO 11/30/2021 ---------
                ANTICIPATED PAYMENTS                                                         ESCROW BALANCE COMPARISON
MONTH      TO ESCROW            FROM ESCROW               DESCRIPTION                 ANTICIPATED             REQUIRED

                                                  STARTING BALANCE -->                $624.79                    $599.00
DEC            $376.59                                                              $1,001.38                    $975.59
JAN            $376.59                                                              $1,377.97                  $1,352.18
FEB            $376.59                                                              $1,754.56                  $1,728.77
MAR            $376.59                                                              $2,131.15                  $2,105.36
APR            $376.59                                                              $2,507.74                  $2,481.95
MAY            $376.59                $1,553.44 TOWN                                $1,330.89                  $1,305.10
JUN            $376.59                  $925.22 USDA                                  $782.26                    $756.47
JUL            $376.59                  $487.00 UNIT HAZARD                           $671.85                    $646.06
AUG            $376.59                                                              $1,048.44                  $1,022.65
SEP            $376.59                                                              $1,425.03                  $1,399.24
OCT            $376.59                                                              $1,801.62                  $1,775.83
NOV            $376.59                $1,553.44 TOWN                           L1->   $624.77             L2->   $598.98
               --------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE --------
IF THE ANTICIPATED LOW POINT BALANCE (L1) IS GREATER THAN THE REQUIRED BALANCE (L2), THEN YOU HAVE AN
ESCROW SURPLUS. YOUR ESCROW SURPLUS IS $25.79.
                                        CALCULATION OF YOUR NEW PAYMENT
PRIN & INTEREST                                                                  $914.12
ESCROW PAYMENT                                                                   $376.59
NEW PAYMENT EFFECTIVE 12/01/2020                                               $1,290.71
YOUR ESCROW CUSHION FOR THIS CYCLE IS $598.98.




                                  ********** Continued on reverse side ************




                       IF YOUR SURPLUS IS $50 OR GREATER, BSI FINANCIAL SERVICES WILL
                       SEND YOU A REFUND CHECK, PROVIDED YOUR LOAN IS CURRENT.

                       IF YOUR SURPLUS IS LESS THAN $50, THE FUNDS WILL REMAIN IN
                       YOUR ESCROW ACCOUNT.
                                                                                                                                                                                                 PAGE 2 OF 3
                            Case 18-12919                        Doc Filed 11/09/20 Entered 11/09/20 14:06:00                                                                   Desc Main
                                                                             document from
                                                                 ********** Continued   Page 4 of**********
                                                                                           front  7


                                                                                            ACCOUNT HISTORY
   THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE ACTUAL
   ESCROW ACTIVITY BEGINNING 12/01/2019 AND ENDING 11/30/2020. IF YOUR LOAN WAS PAID-OFF, ASSUMED OR
   TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS BEGING CHANGED, ACTUAL ACTIVITY STOPS AT
   THAT POINT. THIS STATEMENT IS INFORMATION ONLY AND REQUIRES NO ACTION ON YOUR PART.

   YOUR PAYMENT BREAKDOWN AS OF 12/01/2019 IS:
   PRIN & INTEREST                                                                                                                        $914.12
   ESCROW PAYMENT                                                                                                                         $381.32
   BORROWER PAYMENT                                                                                                                     $1,295.44
                        PAYMENTS TO ESCROW                                      PAYMENTS FROM ESCROW                                                                   ESCROW BALANCE
 MONTH           PRIOR PROJECTED                  ACTUAL                  PRIOR PROJECTED                    ACTUAL                      DESCRIPTION                 PRIOR PROJECTED                     ACTUAL
                                                                                                                                  STARTING BALANCE                           $997.12                        $8,287.25-
   DEC                  $381.32                     $692.56        *                                                                                                       $1,378.44                        $7,594.69-
   JAN                  $381.32                     $346.28        *                                                                                                       $1,759.76                        $7,248.41-
   FEB                  $381.32                     $346.28        *                                                                                                       $2,141.08                        $6,902.13-
   MAR                  $381.32                     $346.28        *                                                                                                       $2,522.40                        $6,555.85-
   APR                  $381.32                     $374.94        *                                       $1,553.44 * TOWN                                                $2,903.72              A->       $7,734.35-
   MAY                  $381.32                     $749.88        *             $600.00                               UNIT HAZARD                                         $1,170.73                        $6,984.47-
   MAY                                                                         $1,514.31                               TOWN
   JUN                  $381.32                     $749.88 *                    $947.27                               USDA                                       T->          $604.78                      $7,159.81-
   JUN                                                                                                       $925.22 * USDA
   JUL               $381.32                    $1,124.82          *                                         $487.00 * UNIT HAZARD                                           $986.10                        $6,521.99-
   AUG               $381.32                      $749.88          *                                                                                                       $1,367.42                        $5,772.11-
   SEP               $381.32                      $374.94          *                                                                                                       $1,748.74                        $5,397.17-
   OCT               $381.32                      $374.94          *                                                                                                       $2,130.06                        $5,022.23-
   NOV               $381.32
                  __________                        $0.00
                                               __________                     $1,514.31
                                                                             __________                  __________               TOWN                                       $997.07                        $5,022.23-
                    $4,575.84                    $6,230.68                     $4,575.89                   $2,965.66


   UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHED THE LOWEST POINT, THAT BALANCE WAS
   TARGETED NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE
   LAW MAY SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.

   UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT BALANCE (T) WAS
   $604.78. YOUR ACTUAL LOW POINT ESCROW BALANCE (A) WAS $7,734.35-.

   BY COMPARING THE ANTICIPATED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN DETERMINE
   WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE AMOUNT OR
   DATE OF THE PROJECTED ACTIVITY THAT HAS NOT YET OCCURRED DUE TO THE DATE OF THIS STATEMENT.

   IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION TO WHICH THE
   ACTUAL ACTIVITY COULD BE COMPARED.

   Determining your Shortage or Surplus
   Shortage:
    .
   Any shortage in your escrow account is usually caused by one the following items:
    . An increase, if any, in what was paid for insurance and/or taxes from your escrow account.
    . A projected increase in taxes for the upcoming year.
      The number of months elapsed from the time of these disbursements to the new payment effective date.
   Shortages are divided evenly of the next twelve months. To reduce the increase in your monthly payment, the
   shortage can be paid either partially or in full.
   Surplus:
    .
   A surplus in your escrow account is usually caused by one the following items:
    .  The insurance/taxes paid during the past year were lower than projected.
    .  A refund was received from the taxing authority or insurance carrier.
       Additional funds were applied to your escrow account.
   If your surplus is $50.00 or greater and your loan was contractually current at the time when the analysis was
   run or calculated, a check will be sent to you. If your surplus is less than $50.00, the funds will be retained in
   your escrow account.




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Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).

If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal liability for the obligation identified in this letter, we may
not and do not intend to pursue collection of that obligation from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand for payment from you
personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
                                                                                                                                                                                                 PAGE 3 OF 3
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                                                                                    document Page 5 of 7

     314 S. Franklin Street, 2nd Floor
     P.O. Box 517
     Titusville, PA 16354
                                                                                                                                     ACCOUNT NUMBER
     1-800-327-7861

     https://myloanweb.com/BSI


                         RICHARD J AMARAL                                                                                            PROPERTY ADDRESS
                         PO BOX 1328                                                                                                 663 WAREHAM ST. UNIT 7
                         MIDDLEBORO, MA 02346                                                                                        MIDDLEBORO, MA 02346





                                                              AnnualPMINotification(originatedafter7Ͳ29Ͳ99)
                      
                      Private Mortgage Insurance: Your mortgage loan requires private mortgage insurance ("PMI"). The
                      premium for the insurance is added to your loan payments. PMI protects lenders against financial loss
                      when borrowers default. Under certain circumstances, federal law gives you the right to cancel PMI or
                      requires that PMI automatically terminate. Cancellation or termination of PMI does not affect any
                      obligationyoumayhavetomaintainothertypesofinsurance.
                      
                      BorrowerRequestedCancellationofPMI:YouhavetherighttorequestthatPMIbecanceledonorafter
                      eitherofthesedates:
                      (1)thedatetheprincipalbalanceofyourloanisfirstscheduledtoreach80%oftheoriginalvalueofthe
                      propertyor
                      (2)thedatetheprincipalbalanceactuallyreaches80%oftheoriginalvalueoftheproperty.
                      
                      PMIwillonlybecanceledonthesedatesif:
                      (1)yousubmitawrittenrequestforcancellation;
                      (2)youhaveagoodpaymenthistory;and
                      (3)wereceive,ifrequestedandatyourexpense,evidencethat
                      the value of the property has not declined below its original value and certification that there are no
                      subordinateliensontheproperty.

                      A"goodpaymenthistory"meansnopayments60ormoredayspastduewithintwoyearsandnopayments

                      30ormoredayspastduewithinoneyearofthecancellationdate.
                      
                      "Originalvalue"meansthelesserofthecontractsalespriceofthepropertyortheappraisedvalueofthe
                      propertyatthetimetheloanwasclosed.
                      
                      AutomaticTerminationofPMI:Ifyouarecurrentonyourloanpayments,PMIwillautomaticallyterminate
                      onthedatetheprincipalbalanceofyourloanisfirstscheduledtoreach78%oftheoriginalvalueofthe
                      property. Ifyouarenotcurrentonyourloanpaymentsasofthatdate,PMIwillautomaticallyterminate
                      whenyouthereafterbecomecurrentonyourpayments.
                      
                      Inanyevent,PMIwillnotberequiredonyourmortgageloanbeyondthedatethatisthemidpointofthe
                      amortizationperiodfortheloanifyouarecurrentonyourpaymentsonthatdate.




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If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal liability for the obligation identified in this letter, we may
not and do not intend to pursue collection of that obligation from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand for payment from you
personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
   Case 18-12919         Doc      Filed 11/09/20 Entered 11/09/20 14:06:00                Desc Main
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                                    CERTIFICATE OF SERVICE
      On November 9, 2020, I served the foregoing documents described as Notice of mortgage
payment change on the following individuals by electronic means through the Court’s ECF program:

COUNSEL FOR DEBTOR
Kathleen L. Kane
kkane@spillanelawoffices.com

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                          /s/ Maben May
                                                          Maben May

        On November 9, 2020, I served the foregoing documents described as Notice of mortgage
payment change on the following individuals by depositing true copies thereof in the United States mail
at Santa Ana, California enclosed in a sealed envelope, with postage paid, addressed as follows:
Debtor
Richard Amaral
663 Wareham Street
Unit 7
Middleboro, MA 02346

Assistant U.S. Trustee
John Fitzgerald
Office of the US Trustee
J.W. McCormack Post Office & Courthouse
5 Post Office Sq., 10th Fl, Suite 1000
Boston, MA 02109

Trustee
Carolyn Bankowski-13-12
Chapter 13-12 Trustee Boston
P. O. Box 8250
Boston, MA 02114

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                         /s/ Maben May
                                                         Maben May
                            Case 18-12919                        Doc            Filed 11/09/20 Entered 11/09/20 14:06:00                                                        Desc Main
                                                                                    document Page 7 of 7




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If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal liability for the obligation identified in this letter, we may
not and do not intend to pursue collection of that obligation from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand for payment from you
personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
